                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


IN RE:

LAPEER INDUSTRIES, INC                                          Case No. 20-48744
                                                                Chapter 11 proceeding

            Debtor.                                             Judge: Maria L. Oxholm
_____________________________/

STIPULATION TO ENTRY OF ORDER (I) ESTABLISHING BIDDING PROCEDURES,
 (II) SCHEDULING AN AUCTION AND A SALE HEARING IN CONNECTION WITH
    THE SALE OF SUBSTANTIALLY ALL OF DEBTOR’S ASSETS, (III) SETTING
   CERTAIN DATES AND DEADLINES IN CONNECTION THEREWITH, AND (IV)
                      GRANTING RELATED RELIEF

         The Debtor, Lapeer Industries, Inc., the Official Committee of Unsecured Creditors,

Trion Solutions, Inc. and Trion Staffing Solutions, Inc., Manufacturers Capital, a division of

Commercial Credit Group, Inc., and the Office of the United States Trustee (“the Parties”) by

and through their counsel, hereby stipulate and agree to the entry of the proposed Order: (I)

Establishing Bidding Procedures, (II) Scheduling an Auction and a Sale Hearing in Connection

with the Sale of Substantially All of Debtor’s Assets, (III) Setting Certain Dates and Deadlines in

Connection Therewith, and (IV) Granting Related Relief attached hereto as Exhibit 1. The

Parties further stipulate and agree to the approval of the Bidding Procedures attached hereto as

Exhibit 2, to the approval of the Notice of Auction and Sale attached hereto as Exhibit 3, to the

approval of the Notice to Counterparties to Executory Contracts and Unexpired Leases attached

hereto as Exhibit 4, and to the approval of the form of Asset Purchase Agreement attached as

Exhibit 5. The Parties further state that the framework of a proposed settlement between the

Parties, subject to final approval, is attached as Exhibit 6.




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Approved as to form and content:


Winegarden, Haley, Lindholm,                          Miller Canfield Paddock & Stone
Tucker & Himelhoch, P.L.C.

/s/ Zachary R. Tucker                                 /s/ Marc N. Swanson
Zachary R. Tucker (P-75263)                           Marc N. Swanson (P71149)
9460 S. Saginaw Rd, Suite A                           Megan R. I. Baxter (P81945)
Grand Blanc, MI 48439                                 150 W. Jefferson Ave., Suite 2500
(810) 579-3600                                        Detroit, MI 48226
ztucker@winegarden-law.com                            (313) 496-8459
                                                      swansonm@millercanfield.com
Counsel for the Debtor                                baxter@millercanfield.com

                                                      Counsel for the Official Committee of
                                                      Unsecured Creditors


CLARK HILL PLC                                        SOMMERS SCHWARTZ, P.C.

/s/ Shannon L. Deeby                                  /s/ David M. Black
Shannon L. Deeby (P60242)                             David M. Black (P25047)
151 S. Old Woodward Ave., Suite 200                   One Towne Squire, Suite 1700
Birmingham, MI 48009                                  Southfield, Michigan 48076
(248) 988-5889                                        (248) 355-0300
sdeeby@clarkhill.com                                  dblack@sommerspc.com

Counsel for Trion Solutions, Inc. and Trion           Counsel for Manufacturers Capital, a
Staffing Solutions, Inc.                              division of Commercial Credit Group
                                                      Inc.



/s/ Jill Gies
Jill Gies (P56345)
211 E. Fort Street, Suite 700
Detroit, MI 48226
(313) 226-7999
Jill.Gies@usdoj.gov

Counsel for Andrew R. Vara, United States
Trustee, Regions 3 and 9




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APPROVED AS TO EXHIBIT 6 ONLY:

/s/ Todd Courser
  Todd Courser (P69829)
455 S. Main St. Lapeer MI 48446

Counsel for Daniel Schreiber




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                                  EXHIBIT 1




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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


IN RE:

LAPEER INDUSTRIES, INC                                   Case No. 20-48744
                                                         Chapter 11 proceeding

            Debtor.                                      Judge: Maria L. Oxholm
_____________________________/

                 ORDER (I) ESTABLISHING BIDDING PROCEDURES,
    (II) SCHEDULING AN AUCTION AND A SALE HEARING IN CONNECTION WITH
       THE SALE OF SUBSTANTIALLY ALL OF DEBTOR’S ASSETS, (III) SETTING
         CERTAIN DATES AND DEADLINES IN CONNECTION THEREWITH, (IV)
    APPROVING THE FORM OF THE ASSET PURCHASE AGREEMENT, INCLUDING
            THE TERMINATION FEE, AND (V) GRANTING RELATED RELIEF

         This matter having come before the Court on Debtor’s Second Motion for Entry of an

Order (I) Approving Bidding Procedures, (II) Scheduling an Auction and a Sale Hearing in

Connection with the Sale of Substantially All of Debtor’s Assets, (III) Establishing Dates and

Deadlines in Connection with the Sale, (IV) Approving the Form of the Asset Purchase

Agreement, and (V) Granting Related Relief; and for Entry of an Order (A) Authorizing the Sale

of Substantially All of Debtor’s Assets Free and Clear of Liens, Claims, Encumbrances, and

Interests, and (B) Approving the Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases, and (C) Granting Related Relief; and for Entry of an Order Establishing

an Administrative Claims Bar Date (“Sale Motion”)1 [Docket No. 353] and upon the Stipulation

to Entry of Order (I) Establishing Bidding Procedures, (II) Scheduling an Auction and a Sale


Capitalized terms used but not defined have the meanings given to them in the Sale
1

Motion.




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Hearing in Connection with the Sale of Substantially All of Debtor’s Assets, (III) Setting Certain

Dates and Deadlines in Connection Therewith, (IV) Approving the Form of the Asset Purchase

Agreement, Including the Termination Fee, and (IV) Granting Related Relief (the “Stipulation”);

proper notice of the Sale Motion having been provided to all parties entitled thereto as required

by applicable law, and no other or further notice being required; objections to the entry of this

Bidding Procedure Order having been resolved; the Court finding that (a) it has jurisdiction to

enter this Bidding Procedures Order pursuant to 28 U.S.C. § 1334; and (b) this is a core

proceeding pursuant to 28 U.S.C. § 157(b); and it appearing to the Court that the relief granted

by the Bidding Procedures Order is in the best interest of Debtor, its estate, and its creditors; the

Court being otherwise fully advised on the premises;

NOW THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      The Sale Motion is GRANTED, solely to the extent that it requests entry of this

Bidding Procedures Order and as provided herein.

       2.      All objections to the entry of this Bidding Procedures Order not settled,

withdrawn, or otherwise resolved are overruled.

       3.      Objections, if any, to the remaining relief requested in the Sale Motion and the

entry of the proposed Sale Order must: (a) be in writing; (b) conform to any applicable

requirements of the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,

and any applicable local rules of procedure of this Court; (c) set forth the name of the objecting

party and the nature of any claims or interests held by such party against or in Debtor’s estate or

property; (d) state with particularity the legal and factual bases for the objection and the specific

grounds therefore; and (e) be filed with the Clerk of the Court, and served on Debtor’s counsel so

as to be received, on or before February 23, 2021 (“Sale Objection Deadline”).




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       4.      Any person or entity that fails to make an objection by the Sale Objection

Deadline is forever barred from asserting any objection to the entry of the Sale Order.

       5.      A hearing (“Sale Hearing”) to consider the remaining relief requested in the Sale

Motion and the entry of the proposed Sale Order shall be held on February 25, 2021 at 11:00

a.m. (Eastern) and shall be held by telephone before the Honorable Maria L. Oxholm, (in

accordance with her published practices).

       6.      The Bidding Procedures attached to the Stipulation as Exhibit 2 are incorporated

herein by reference and approved, and shall apply to the sale of the Assets.

       7.      The Notice of Auction and Sale attached to the Stipulation as Exhibit 3 is

incorporated herein by reference and approved.

       8.      The proposed assumption and assignment notice (“Assumption and Assignment

Notice”) attached to the Stipulation as Exhibit 4 is incorporated herein by reference, approved,

and deemed sufficient for all purposes, and no further notice shall be required.

       9.      The form of Asset Purchase Agreement attached to the Stipulation as Exhibit 5 is

approved and the Expense Reimbursement Fee set forth therein is also approved.

       10.     The following Assumption and Assignment Procedures are approved and shall

apply to the assumption and assignment by Debtor of certain executory contracts and unexpired

leases (“Assumed and Assigned Agreements”):

               a.     By no later than one day after entry of this Bidding Procedures Order, the
                      Debtor will file a schedule (“Cure Schedule”) which will be attached to
                      the Assumption and Assignment Notice, identifying (i) the Assumed and
                      Assigned Agreements, to potentially be assumed and assigned to a
                      Winning Bidder in the event of a Sale and (ii) the amount, if any, the
                      Debtor believes is necessary to cure all monetary defaults and other
                      defaults under such agreement pursuant to § 365 of the Bankruptcy Code
                      (“Cure Costs”).




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          b.     Upon the filing of the Cure Schedule, the Debtor will serve the Cure
                 Schedule and the Assumption and Assignment Notice on each of the non-
                 debtor counterparties listed on the Cure Schedule by first class mail.

          c.     The Assumption and Assignment Notice will state that the Debtor is or
                 may be seeking the assumption and assignment of the Assumed and
                 Assigned Agreement and include (i) a description of each executory
                 contract and unexpired lease that may be assumed and assigned in
                 connection with the Sale, (ii) the deadline for objecting
                 (“Cure/Assignment Objection”) to the amount of the proposed Cure Costs
                 related to any executory contract or unexpired lease is February 24, 2020
                 at 5:00 p.m. Eastern Time (“Cure/Assignment Objection Deadline”) and
                 (iii) the deadline for objecting (“Adequate Assurance Objection”) to the
                 ability of any Winning Bidder to provide adequate assurance of future
                 performance under any Assumed and Assigned Agreement is February
                 24, 2021 at 5:00 p.m. Eastern Time (“Adequate Assurance Objection
                 Deadline” and collectively with the Cure/Assignment Objection Deadline,
                 the “Cure/Adequate Assurance Objection Deadlines”).

          d.     Each Cure/Assignment Objection and/or Adequate Assurance Objection
                 must be filed with the Bankruptcy Court and served on Debtor’s counsel
                 so that it is received by the applicable Cure/Adequate Assurance Objection
                 Deadline.

          e.     If no objections are received with respect to any Assumed and Assigned
                 Agreement, then the Cure Costs set forth in the Cure Schedule for such
                 agreement will be binding upon the non-debtor counterparty to such
                 agreement for all purposes and will constitute a final determination of the
                 Cure Costs required to be paid by or on behalf of the Debtor in connection
                 with the assumption and assignment of such agreement.

          f.     In addition, all counterparties to the Assumed and Assigned Agreements
                 who fail to file an objection before the Cure/Adequate Assurance
                 Objection Deadlines, as applicable, will be (i) forever barred from
                 objecting to the Cure Costs or adequate assurance of future performance
                 with respect to the Assumed and Assigned Agreements, and the Debtor
                 and the Winning Bidder will be entitled to rely solely upon the Cure Cost
                 set forth on the Cure Schedule, (ii) deemed to have consented to the
                 assumption and assignment, and (iii) forever barred and estopped from
                 asserting or claiming against the applicable Debtor or the Winning Bidder
                 that any additional amounts are due or other defaults exist, that conditions
                 to assignment must be satisfied or that there is any other objection or
                 defense to the assumptions or assignment of the applicable Assumed and
                 Assigned Agreement.




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               g.      The Debtor or the Winning Bidder may amend the Cure Schedule to
                       remove any Assumed and Assigned Agreement at any time before such
                       Assumed and Assigned Agreement is actually assumed and assigned
                       pursuant to an order of the Court. The non-debtor party or parties to any
                       such removed contract or lease will be notified of such exclusion by
                       written notice mailed within one (1) business day after such amendment.

        11.    Any timely filed and unresolved Cure/Assignment Objection and/or Adequate

Assurance Objection will be heard at the Sale Hearing.

        12.    The presence of an Assumed and Assigned Agreement on the Cure Schedule does

not constitute an admission that such Assumed and Assigned Agreement is an executory contract

or unexpired lease or that the Assumed and Assigned Agreement will be assumed, assigned, or

both.

        13.    Debtor shall provide notification pursuant to Section 2 of the Bidding Procedures

by no later than one (1) day after entry of this Order.

        14.    Nothing in this Order or otherwise shall affect any right which may exist in favor

of any entity holding a valid and enforceable Lien from exercising any right afforded to such

holder pursuant to § 363(k) of the Bankruptcy Code; provided however that if the Debtor

receives an unconditional offer for the Assets that is equal to or greater than $1,250,000.00 in

cash, then Trion Solutions, Inc., Trion Staffing Solutions, Inc., and Manufacturers Capital, a

division of Commercial Credit Group, Inc., waive their respective rights to credit bid (if any)

pursuant to 363(k) of the Bankruptcy Code.

        15.    The Committee, Trion Solutions, Inc., Trion Staffing Solutions, Inc., and

Manufacturers Capital, a division of Commercial Credit Group, Inc., reserve all rights and

objections with respect to the approval of the Sale Motion.

        16.    The Court retains jurisdiction to hear and determine all matters arising from or

relating to the implementation and/or interpretation of this Order.




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                                   EXHIBIT 2




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                                            BIDDING PROCEDURES


In re: Lapeer Industries, Inc.
(Bankr. E.D. Mich. Case no. 20-48744)

1.         ASSETS.

     A. Lapeer Industries, Inc. (the “Debtor”) has determined that it can obtain the highest and best value
        for its assets by selling its businesses as a going-concern.

     B. The assets to be sold consist of substantially all of Debtor’s assets used or useful in its
        businesses as more particularly described herein and also including the interest of Schreiber
        Holdings, LLC as to the Locas Boring Mill only (“Assets”), including, but not limited to, Debtor’s
        right, title and interest to the following:

     i.    All tangible personal property, leasehold improvements, installations, fixtures, trade fixtures,
               machinery, tooling and equipment including all items identified on Exhibit A to the Purchase
               Agreement between Business Company, LLC and Debtor (except item #163 of Exhibit A
               which is modified below), fittings, furniture, furnishings, inventory, materials including steel,
               aluminum, stainless, scrap, WIP, cars, trucks, trailers or rolling stock, office equipment and
               supplies wall to wall and floor to ceiling (collectively, “Tangible Property”) located and used at
               each of Debtor’s locations at 3140 John Conley Dr, Lapeer, MI 48446 and 400 McCormick
               Drive, Lapeer MI 48446. Exhibit A to the above referenced purchase agreement #163 shall
               be redefined as follows: all trailers, containers, and vessels (including contents) located at the
               above referenced locations excluding customer owned assets;

     ii.   All right, title and interest of the Debtor and its bankruptcy estate in the real property lease (the
                “Real Property Lease”) related to Debtor’s location commonly known as 3140 John Conley
                Drive Lapeer, MI 48446.;

     iii. All computers, computer equipment, computer hardware/software, servers, fiber optic lines,
              copiers, security systems, machines, keys, codes and all other equipment owned by Debtor.

     iv. All telephone numbers registered to the Debtor; e-mail addresses, domain names, fax numbers,
              websites, provided, however, that the Buyer acknowledges that the Debtor will utilize the
              telephone numbers in the ordinary course of business prior to the closing date;

     v.    All of Seller’s intellectual property and all rights to any intellectual property of any other person
                licensed to the Debtor pursuant to any contract including names, domain names, trademarks,
                registrations, websites, assumed names, logos masks, copyrights, and patents;

     vi. All contracts and all rights of the Debtor to accounts receivable related to or arising from debts or
              obligations owed by the Israeli Ministry of Defense (IMOD).

     vii. All express or implied guarantees, warranties, representations, covenants, indemnifications,
              rights, claims, counterclaims, defenses, credits, causes of action or rights of set off against
              third parties relating to the Assets (including for the avoidance of doubt, those arising under,
              or otherwise relating to, the contracts to be purchased but expressly excluding all Avoidance
              Actions and Causes of Action (each as defined below)) or liabilities, including without
              limitation, rights under vendors’ and manufacturers’ warranties, indemnities, and guarantees
              except those which are expressly identified in the Excluded Assets section below;

     viii. To the extent transferrable under applicable law or with the consent of any third party, if
              necessary, which consent has been obtained, all licenses, permits, certifications and
              approvals from all permitting, licensing, accrediting and certifying agencies, all pending




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            applications for any of the foregoing, and the rights to all data and records held by such
            permitting, licensing and certifying agencies;

  ix. All documents consisting of purchasing and sales records, accounting records, business plans,
           budgets, costs and pricing information, customer and vendor lists, client records wherever
           located related to the business, other than those documents that are Excluded Assets as
           identified below;

  x.    Debtor’s current employees are leased from a third party, however retention of employees is
           possible. Accordingly, all personnel files for employees the purchaser intends to retain will
           also be included, except as required under law; provided, however, that the Debtor has the
           right to retain copies at its expense to the extent required by law;

  xi. All prepaid expenses relating to the Assets;

  xii. Any rights, claims or causes of action of the Debtor, except for those identified as related to, or
          arising under, the Excluded Assets section of these Bidding Procedures, including without
          limitation, the Avoidance Actions and Causes of Action;

  xiii. All customer contracts for services for which performance is due or to become due by the Debtor
             at any location of the Debtor’s that is operating as of the date of closing;

  xiv. Any claim, right or interest of Debtor in or to any refund or rebate relating to the Assets;

  xv. All insurance claims or proceeds arising out of or related to the damage, destruction or loss of
           any Assets to the extent any damage, destruction or loss remains unrepaired or not replaced
           at the Closing.

  xvi. All tax refunds; and

  xvii. Insurance policies with Debtor as named insured and all insurance proceeds and insurance
            claims of Debtor or to which Debtor is entitled, including Debtor’s directors; and officers’
            liability insurance policy.

  C. The Assets shall not include any of the following (collectively, the “Excluded Assets”):

  i.    Any and all rights under all contracts that are not assumed by the Purchaser;

  ii.   Any avoidance actions, including without limitation, voidable transaction actions, fraudulent
           transfer actions and preference actions, and claims and proceeds of such avoidance actions
           and all claims and causes of action under Chapter 5 of the Bankruptcy Code and non-
           Bankruptcy law and the proceeds of such actions (“collectively, the “Avoidance Actions”);

  iii. Claims against officers, directors, managers, and members, of the Debtor and any claims against
           any insider (as defined in the Bankruptcy Code) of the Debtor and any claims against Marvin
           Engineering Co., Inc. and any of its affiliates, owners, trusts, subsidiaries or related entities or
           related individuals, including without limitation, the Marvin Group and the Gerald M. Friedman
           Trust dated 4/24/08. (collectively, the “Causes of Action”);

  iv. Any (i) confidential personnel and medical records pertaining to any employee who is not hired by
         the buyer; (ii) books and records that Debtor is required by law to retain, provided, that the
         buyer shall have the right to make copies of any portions of such retained books and records
         that relate to the business or any of the Assets; and (iii) minute books, stock and membership
         ledgers and stock and membership certificates of the Debtor;

  v.    All rights under or pursuant to all warranties (express or implied), representations and guarantees




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               made by third parties relating to any Excluded Assets;

     vi. All claims that Debtor may have against any person or entity solely with respect to any Excluded
              Assets or which solely constitute a defense against any of the Excluded Liabilities;

     vii. All Employee Plans/Agreements and assets related thereto, including the Debtor’s rights, title and
               interests in any (i) assets related to a defined benefit or contribution retirement plan, and (ii)
               assets related to non-qualified deferred compensation plan;

     viii. All accounts receivable other than accounts receivable from IMOD;

     ix. All membership interests of the Debtor and all equity securities owned or held by any members of
             Debtor;

     x.    Debtor’s cash and cash equivalents, which includes but is not limited to amounts related to
              Debtor’s customer TAG which may be held in escrow and the $100,000 deposit held by the
              Debtor’s counsel from Daniel Schreiber;


     xi. For the avoidance of doubt, all real property and personal property which was previously used or
             being used by the Debtor but not owned by the Debtor is expressly designated as an
             Excluded Asset; and

     xii. For the avoidance of doubt, any interest, including but not limited to any leasehold interest, which
              relates to any real property other than 3140 John Conley Drive Lapeer, MI 48446 is an
              “Excluded Asset”, as Debtor asserts it has no interest in any real estate other than the lease
              with respect to 3140 John Conley Drive Lapeer, MI 48446.

2.         NOTICE OF AUCTION AND SALE.

     A. Within one (1) day after entry of an order (“Bidding Procedures Order”) approving these Bidding
        Procedures, Debtor will provide notice of the Bidding Procedures to the following parties (“Notice
        Parties”) in the form and manner described below:

     i.    Debtor will serve the Bidding Procedures Order by mail, postage prepaid on:

                   a.       The United States Trustee;

                   b.       All entities that have executed a nondisclosure agreement in connection with the
                        proposed sale of the Assets;

                   c.                        The Stalking Horse Bidder;

                   d.       Counsel to the Unsecured Creditors’ Committee;

                   e.       Counsel to Trion Solutions, Inc. and Trion Staffing Solutions, Inc.

                   f.       Counsel to Manufacturers Capital, a division of Commercial Credit Group, Inc.

                   g.       All entities known by the Debtor to have asserted a lien, claim, or encumbrance
                            on or against any of the Assets; and

                   h.       All applicable taxing authorities.

     ii.   Debtor will also serve a notice of the Bidding Procedures Order and the Auction, by mail, postage
              prepaid, in the form of Exhibit 6D to the Sale Motion, on all known creditors of the Debtor.




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3.       DUE DILIGENCE.

     A. Parties interested in purchasing the Assets may obtain due diligence materials regarding the
        Assets from Debtor. Debtor shall promptly provide the Consultation Parties (as defined below)
        with a list of the parties that contacted it.

     B. Interested parties must execute a form nondisclosure agreement acceptable to Debtor (“NDA”)
        before any due diligence materials will be provided. Parties that have previously executed an
        NDA do not need to execute a new NDA. All due diligence requests should be directed to
        Debtor’s counsel, Zachary R. Tucker at ztucker@winegarden-law.com. Debtor will comply with
        other reasonable due diligence requests made by interested parties, and all due diligence must
        be completed by the Auction.

4.       MINIMUM BID.

     A. The aggregate consideration (the “Purchase Price”) for the Assets shall be an amount of no less
        than $1,350,000.00 in cash, which amount excludes Cure Costs and Assumed Liabilities for pre-
        paid customer unperformed services. All Cure Costs must be paid by the purchaser and the
        Debtor has no liability for any such costs. For the avoidance of doubt, if no bids other than the bid
        of the Stalking Horse Bidder are received the purchase price paid shall be the amount set forth in
        the asset purchase agreement between Debtor and Business Company, LLC (“Stalking Horse
        Bidder”). Further, Stalking Horse Bidder does not intend to assume any leases or executory
        contracts.

     B. On the Closing Date, the Winning Bidder shall wire immediately available funds in an amount
        equal to the amount described in its winning bid which shall be no less than $1,350,000.00 in
        cash, or if there are no bids other than the bid of the Stalking Horse Bidder, the amount provided
        for in the Asset Purchase Agreement between Debtor and the Stalking Horse Bidder.

5.       QUALIFIED BIDDERS.

                 A.      All bidders must be Qualified Bidders (as defined below) to participate at the
                         Auction (as defined below).

                 B.      The Stalking Horse Bidder is a “Qualified Bidder.” Any entity that submits a
                         Qualified Bid (as defined below) in accordance with these Bidding Procedures
                         and provides evidence satisfactory to the Consultation Parties that it will be able
                         to pay the Purchase Price in cash at closing is also a Qualified Bidder.

                 C.      A “Qualified Bid” is a written offer to purchase the Assets which is submitted by a
                         Qualified Bidder.

6.       DEADLINE TO SUBMIT QUALIFIED BIDS: Any person or entity that wishes to submit a
               Qualified Bid must submit its bid so that it is actually received by Debtor’s counsel no
               later than no later than 12:00 p.m. prevailing Eastern Time on February 22, 2021
               (“Qualified Bid Deadline”).

7.       WHERE TO SUBMIT BIDS: Bids must be submitted by electronic mail to the e-mail addresses
              below of Debtor’s counsel, counsel to the Official Committee of Unsecured Creditors
              (“Committee”), the Office of the United States Trustee, counsel for Trion Solutions, Inc.
              and Trion Staffing Solutions, Inc., and counsel for Manufacturers Capital, a division of
              Commercial Credit Group, Inc., and must include an address, telephone number, and
              electronic mail address at which the entity submitting the bid (“Proposed Bidder”) may be
              contacted.




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            A.       Debtor’s counsel:
                                    Zachary R. Tucker
                                    9460 S. Saginaw Road, Suite A
                                    Grand Blanc, MI 48439
                                    ztucker@winegarden-law.com

            B.       Committee counsel:
                                   Marc N. Swanson
                                   150 West Jefferson, Suite 2500
                                   Detroit, MI 48226
                                   swansonm@millercanfield.com


                     C.      Office of the United States Trustee:
                             Jill M. Gies
                             Office of the United States Trustee
                             211 W. Fort St., Ste. 700
                             Detroit, MI 48226
                             Jill.gies@usdoj.gov

                     D.      Counsel for Trion Solutions, Inc. and Trion Staffing Solutions, Inc.:
                             Shannon L. Deeby
                             151 S. Old Woodward Avenue, Suite 200
                             Birmingham, MI 48009
                             sdeeby@clarkhill.com

                     E.      Counsel for Manufacturers Capital, a division of Commercial Credit
                             Group, Inc.:
                             David M. Black
                             One Towne Squire, Suite 1700
                             Southfield, Michigan 48076
                             dblack@sommerspc.com

8.   CONTENT OF QUALIFIED BIDS: A Stalking Horse Bid is deemed to be a Qualified Bid
          submitted by a Qualified Bidder. All other Qualified Bids must include the following items
          (collectively, the “Bid Package”):

            A.       An unconditional cash offer for the Assets that is not less than the sum of the
                 $1,350,000.00, which amount includes the Expense Reimbursement Fee, plus
                 agreement to pay all Cure Costs and Assumed Liabilities for pre-paid customer
                 unperformed services.

            B.        An executed confidentiality agreement in form and substance reasonably
                 satisfactory to the Debtor.

            C.        A signed asset purchase agreement that fully outlines the terms and conditions
                 of the proposed purchase transaction.

            D.       A designation of the executory contracts and unexpired leases that the Qualified
                 Bidder desires to be assumed and assigned by the Debtor to the Qualified Bidder. A
                 potential Qualified Bidder must make a good faith showing of adequate assurance of
                 future performance with respect to any unexpired leases or executory contracts that
                 are to be assumed and assigned to the Qualified Bidder. In addition to paying the
                 cash purchase requirement any cure costs must be paid by the Qualified Bidder.




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             E.       A disclosure of the identity of each person or entity that will be bidding for the
                  Assets and any connection with the Debtor. Additionally, a disclosure of the identity
                  of the person that would be designated to bid at the Auction on behalf of the
                  Proposed Bidder.

             F.       A binding and irrevocable offer.

             G.        Evidence of the financial ability of the Proposed Bidder to consummate the
                  proposed transaction with the closing to occur no later than February 26, 2021, that is
                  reasonably satisfactory to the Debtor, the Debtor’s professionals, the Official
                  Committee of Unsecured Creditors, Trion Solutions, Inc. and Trion Staffing Solutions,
                  Inc., and Manufacturers Capital, a division of Commercial Credit Group, Inc.
                  (collectively, the “Consultation Parties”), which may include audited (if in existence) or
                  unaudited financial statements and/or other written evidence of the financial ability to
                  close.

             H.       A board/member resolution or written evidence that demonstrates to the
                  reasonable satisfaction of the Debtor and the Committee that the Proposed Bidder
                  has obtained all corporate or other authority necessary for it to close and fund the
                  proposed transaction and that the person(s) authorized to bid at the Auction on
                  behalf of such entity are authorized to do so.

             I.       A deposit in cash or other immediately available funds (“Deposit”) to be wired into
                  a bank account to be designated by Debtor, which Deposit must be received on or
                  before the Qualified Bid Deadline and in the amount of not less than $100,000.00.
                  Previously made deposits do not qualify.

             J.       The bid must not contain any contingencies and may not include any financial or
                  due diligence contingencies.

             K.        All bids must contemplate the purchase of Debtor’s assets “AS IS AND WHERE
                  IS.” The signed purchase agreement must be consistent with this requirement and
                  must not require Debtor to make any representations inconsistent with an “as is
                  where is” transaction.

     The Debtor and the Committee, in consultation with the Consultation Parties, reserve the right to
     work with any potential bidder in advance of the Auction to cure any deficiencies in a bid that is
     not initially deemed to be a Qualified Bid. The Debtor will provide to the Consultation Parties
     copies of each Bid Package received from a proposed Qualified Bidder, as described in these
     Bidding Procedures. The Debtor, after consulting with the Consultation Parties, will determine if a
     proposed Qualified Bidder is, in fact, a Qualified Bidder. Each of the Consultation Parties
     reserves all rights to object to the Debtor’s designation of a Qualified Bidder (other than the
     Stalking Horse Bidder).

9.   “AS IS, WHERE IS”; NO RELIANCE BY BIDDERS. All entities seeking to be designated as
            Qualified Bidders shall be conclusively presumed to represent, warrant, and acknowledge
            as follows:

             A.       The Assets shall be sold on an “as is, where is” basis and without
                      representations or warranties of any kind, nature, or description by Debtor, its
                      agents, or the bankruptcy estates.

             B.       All of Debtor’s right, title, and interest in and to the Assets pursuant to the terms
                      of the Sale Order shall be sold free and clear of all liens, claims, encumbrances,
                      interests, restrictions, and other encumbrances of any kind or nature thereon to
                      the full extent authorized under Bankruptcy Code §§ 363(f) and 365, with the




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                   same to attach to the net proceeds of the sale of the Assets according to their
                   priority.

           C.      Each Qualified Bidder understands and is bound by the terms of these Bidding
                   Procedures, and any order approving these Bidding Procedures.

           D.      Each Qualified Bidder has had an opportunity to conduct reasonable due
                   diligence, if requested, and it has relied solely upon its own independent review,
                   investigation, and/or inspection of any documents and/or Assets in making its bid
                   and has not relied upon any written or oral statements, representations,
                   promises, warranties or guaranties whatsoever, whether express or implied, by
                   operation of law or otherwise, regarding the Assets or the accuracy or
                   completeness of any information provided in connection with the Assets, the
                   Bidding Procedures Order, or the Auction, except as expressly stated in the
                   Bidding Procedures Order or in an executed asset purchase agreement.

           E.      Each Qualified Bidder has not colluded with any party with respect to its bid and
                   has submitted its bid in good faith and not by any means forbidden by law.
                   Nothing herein shall be construed to prohibit joint bids, however.

     10.   DESIGNATION OF QUALIFIED BIDS.

     A.    On or before February 22, 2021, at 12:00 p.m. Eastern Time, Debtor will, after consulting
                  with the Consultation Parties, designate those submitted bids, if any, that are
                  Qualified Bids.

     B.    The Debtor may, after consulting with Consultation Parties, determine at the Auction that
                  a previously Qualified Bidder has altered its bid in a way that causes it to no
                  longer be a Qualified Bidder.

     C.    If no Qualified Bids other than a Stalking Horse Bid are received by the Qualified Bid
                   Deadline, Debtor will seek Bankruptcy Court approval of a sale of the Assets to
                   the Stalking Horse Bidder.

     11.   AUCTION.

     A.    If one or more Qualified Bids is received (in addition to the Stalking Horse Bid) by the
                   Qualified Bid Deadline, the Auction will be conducted at the offices of
                   Winegarden, Haley, Lindholm, Tucker, and Himelhoch, PLC, or such other place
                   as may be designated by the Debtor, on February 23, 2021, commencing at
                   12:00 p.m. prevailing Eastern Time (“Auction”). Qualified Bidders and the
                   Consultation Parties may attend the Auction via remote video connection,
                   provided that they contact the attorney for the Debtor by email to
                   ztucker@winegarden-law.com to make arrangements. Qualified Bidders and the
                   Consultation Parties appearing remotely will need to provide visual verification of
                   their identities prior to being allowed to participate.

     B.    Only representatives of Debtor, the Committee, the United States Trustee, Stalking Horse
                   Bidder, any Qualified Bidder, and any entity holding a Lien will be entitled to
                   attend the Auction.

     C.    Debtor may announce at the Auction additional procedural, non-material rules for bidding
                  and other procedures that are reasonable under the circumstances (e.g.,
                  regarding the amount of time allotted to make subsequent overbids) for
                  conducting the Auction, so long as such rules are not inconsistent with the
                  provisions of the Bidding Procedures Order, any order of the Court entered in




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                   connection herewith or the Bankruptcy Code.

      D.   The conduct of the Auction may be transcribed, but transcription is not required.

      E.   Following consultation with the Consultation Parties, Debtor shall designate, in its
                   discretion, at the start of the Auction the Qualified Bid determined by the Debtor
                   in the exercise of their business judgment to be the highest and best bid as the
                   initial bid for the Assets (“Initial Qualified Bid”).

      F.   The first overbid above the Initial Qualified Bid and each subsequent overbid must be in
                    the form of cash consideration and must be determined by Debtor to be equal in
                    value to the sum of $80,000 (“Bidding Increment”) above the immediately
                    preceding Initial Qualified Bid or subsequent overbid (if applicable).

      G.   Promptly after the conclusion of the Auction and after consultation with the Consultation
                  Parties, Debtor will designate the highest or best Qualified Bid (taking into
                  account all relevant factors, including, but not limited to, cash consideration, the
                  terms and conditions of the proposed agreement, the aggregate value offered by
                  the Qualified Bidder, the speed and certainty of consummation of a sale of the
                  Assets to such Qualified Bidder), and the net proceeds that will be made
                  available to the Debtor’s bankruptcy estate upon a purported sale of the Assets
                  (“Winning Bidder”) and shall designate the next highest or otherwise best
                  Qualified Bid (“Back-Up Bid”) and the entity submitting the Back-Up Bid (“Back-
                  Up Bidder”).

      H.   Debtor will file a notice immediately after the Auction setting forth the identity of the
                  Winning Bidder.

      I.   At the conclusion of the Auction, the party making the highest or otherwise best bid for
                   the Assets shall be designated the Winning Bidder and the party submitting the
                   second highest or otherwise best bid shall be designated the Back-Up Bidder.

      J.   If the Winning Bid is approved by the Court and the Winning Bidder fails to close, Debtor
                   shall be authorized to close on the Back-Up Bid without further order of the
                   Court.

12.   PRESENTATION OF WINNING BIDDER AND BACK-UP BID; ACCEPTANCE OF QUALIFIED
           BID ONLY UPON COURT APPROVAL.

      A.   A hearing shall occur on February 25, 2021, at which hearing Debtor shall seek entry of
                   an order approving the sale of the Assets to the Winning Bidder (“Sale Order”)
                   and that is effective immediately upon entry, notwithstanding Bankruptcy Rule
                   6004(h).

      B.   The Sale Order shall provide that, if the transaction with the Winning Bidder for sale of
                  the Assets fails to close because of a breach or failure to perform on the part of
                  the Winning Bidder, Debtor may consummate a sale of the Assets pursuant to
                  the Back-Up Bid without further order of the Court.

      C.   The Back-Up Bid of a Back-Up Bidder, including the Stalking Horse Bidder if the Stalking
                  Horse Bid is the second highest and best bid, shall remain open and irrevocable
                  until March 8, 2021 (“Outside Back-Up Date”).

      D.   A Qualified Bid, including any Winning Bid or Back-Up Bid, shall be deemed accepted by
                   Debtor only when that Qualified Bid has been approved by the Court.




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13.   TREATMENT OF DEPOSITS.

      A.     Any Qualified Bidder that submitted a Deposit and that is not designated at the Auction
                   as having submitted the Winning Bid or the Back-Up Bid shall have its Deposit
                   returned no later than two (2) business days after the designation of the Winning
                   Bid.

      B.     If a Qualified Bidder is the Back-Up Bidder, its deposit shall be returned to it within two (2)
                     business days after the Outside Back-Up Date, unless its Back-Up Bid becomes
                     the Winning Bid.

      C.     Notwithstanding anything to the contrary in any agreement between a Qualified Bidder
                     and Debtor or any other entity, if such Qualified Bidder fails to consummate a
                     transaction approved pursuant to the Sale Order because of a breach or failure
                     to perform on the part of such Qualified Bidder, such Qualified Bidder shall not be
                     entitled to the return of its Deposit. Such Deposit shall be deemed forfeited and
                     property of Debtor’s estates, such Deposit shall be retained by Debtor’s estates
                     in partial satisfaction of any damages due to Debtor’s estates as a result of such
                     Qualified Bidder’s failure to consummate the transaction, and such Deposit shall
                     be deemed to be proceeds of the Sale. Debtor retains any and all rights to
                     recover damages in excess of the Deposit from such Qualified Bidder.

14.   CLOSING. The closing of the transactions contemplated by the Sale Motion (“Closing”) shall take
            place remotely via electronic exchange of documents, on the date (“Closing Date”) that is
            mutually agreed to by the Parties but in no event shall be no later than February 26,
            2021, absent written agreement of the Debtor and the Consultation Parties.

15.   SALE HEARING. A hearing (“Sale Hearing”) to consider entry of the Sale Order will be held on
            February 25, 2021 at 11:00 a.m. (Eastern) and shall be held by telephone before the
            Honorable Maria L. Oxholm, (in accordance with her published practices).




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                                   EXHIBIT 3




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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


IN RE:

LAPEER INDUSTRIES, INC                                    Case No. 20-48744
                                                          Chapter 11 proceeding

             Debtor.                                      Judge: Maria L. Oxholm
_____________________________/

                                   NOTICE OF AUCTION AND SALE

         PLEASE TAKE NOTICE that, on January 26, 2021, the Debtor filed its motion (“Sale Motion”) for
entry of orders pursuant to §§ 105(a), 363 and 365 of title 11 of the United States Code, 11 U.S.C. §§ 101
et seq. (“Bankruptcy Code”) and Rules 2002, 6004, 6006 and 9014 of the Federal Rules of Bankruptcy
Procedure (“Bankruptcy Rules”): (a) approving the Bidding Procedures (as defined below) in connection
with the sale (“Sale”) of substantially all of Debtor’s assets used or useful in their businesses as more
particularly described in the Asset Purchase Agreement (“Assets”); (b) authorizing and scheduling an
auction if multiple bids are received (“Auction”), in connection with the Sale; (c) approving cure
procedures relating to the assumption and assignment of certain executory contracts and unexpired
leases (“Assumed and Assigned Agreements”) in connection with the Sale; (d) approving the form and
manner of notices; (e) setting a hearing (“Sale Hearing”) to take place after the Auction (if an Auction is
necessary), to approve the Sale and the assumption and assignment of the Assumed and Assigned
Agreements.

        By Order dated February __, 2021, the Bankruptcy Court entered an order (“Bidding Procedures
Order”) approving certain Bidding Procedures in connection with and furtherance of the Sale Motion (the
“Bidding Procedures”).

       Copies of the Bidding Procedures Order and the Bidding Procedures are available free of charge
and may be requested by contacting Debtor’s counsel at (810) 579-3600 or ztucker@winegarden-
law.com.

        Any party that wishes to take part in the process and submit a bid for the Assets (or the Additional
Assets) must comply with all of the Bidding Procedures.

         In the event the Debtor receives a Qualified Bid, the Debtor will, unless otherwise ordered by the
Court, conduct the Auction with respect to the Assets. The Auction will be conducted at the offices of
Winegarden, Haley, Lindholm, Tucker, and Himelhoch, PLC or such other place as may be designated by
the Debtor, on February 23, 2021, commencing at 12:00 pm prevailing Eastern Time (“Auction”).
Qualified Bidders may attend the Auction via remote video connection, provided that they contact the
attorney for the Debtor by email to ztucker@winegarden-law.com at least seven (7) days prior to the
auction to make arrangements for a remote appearance. Qualified Bidders appearing remotely will need
to provide visual verification of their identities prior to being allowed to participate.

       If you seek to object to the sale of the Assets or any portion thereof, you must comply with the
terms for making such objections as set forth in the Bidding Procedures Order and the Bidding
Procedures.

        Such objections must be filed with the Bankruptcy Court, and served on Debtor’s counsel so as to
be received, on or before February 23, 2021.

         The Sale Hearing shall be held on February 25, 2021 at 11:00 a.m. (Eastern) and shall be held by



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telephone before the Honorable Maria L. Oxholm, (in accordance with her published practices), at which
time the Court will hear any such objections.

        If any party fails to timely file and serve an objection in accordance with the Bidding Procedures
Order, the Bankruptcy Court may disregard such objection. The failure of any person to timely file its
objection shall be a bar to the assertion, at the Sale Hearing or thereafter, of any objection to the Sale or
the Debtor’s assumption and assignment of the Assumed and Assigned agreements or the
consummation of the Sale.




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                                    EXHIBIT 4




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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


IN RE:

LAPEER INDUSTRIES, INC                                   Case No. 20-48744
                                                         Chapter 11 proceeding

             Debtor.                                     Judge: Maria L. Oxholm
_____________________________/

                          NOTICE TO COUNTERPARTIES TO EXECUTORY
                             CONTRACTS AND UNEXPIRED LEASES

       You are receiving this notice because you may be a party to a contract or lease with one or
more of the Debtors. Please read this notice carefully as your rights may be affected by the
transactions described herein.

        PLEASE TAKE NOTICE that, on August 5, 2020, Lapeer Industries, Inc (the “Debtor”)
commenced this case by filing a voluntary petition for relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”).

         PLEASE TAKE FURTHER NOTICE that, on January 26, 2021, Debtor filed its Second Motion for
Entry of an Order (I) Approving Bidding Procedures, (II) Scheduling an Auction and a Sale Hearing in
Connection with the Sale of Substantially All of Debtor’s Assets, (III) Establishing Dates and Deadlines in
Connection with the Sale, and (IV) Granting Related Relief; and for Entry of an Order (A) Authorizing the
Sale of Substantially All of Debtor’s Assets Free and Clear of Liens, Claims, Encumbrances, and
Interests, (B) Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (C) Granting Related Relief (“Sale Motion”).

        PLEASE TAKE FURTHER NOTICE that, on February __, 2021, the United States Bankruptcy
Court for the Eastern District of Michigan (“Bankruptcy Court”) entered an Order (I) Establishing Bidding
Procedures, (II) Scheduling An Auction And A Sale Hearing In Connection With The Sale Of Substantially
All Of Debtor’s Assets, (III) Setting Certain Dates And Deadlines In Connection Therewith, and (IV)
Granting Related Relief (“Bidding Procedures Order”) [Docket No. ___].

        Among other things, the Bidding Procedures Order: (a) established certain procedures (“Bidding
Procedures”) for the sale (“Sale”) of the Debtor’s assets pursuant to an auction (“Auction”) and (b)
scheduled the time and place for the Auction. The hearing on whether to approve the Sale will take place
on February 25, 2021 at 11:00 a.m. (Eastern) and shall be held by telephone before the Honorable
Maria L. Oxholm, (in accordance with her published practices) (“Sale Hearing”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures Order, the Debtor
may potentially assume and assign to the Winning Bidder one or more of those executory contracts and
unexpired leases listed on Schedule 1 attached hereto (collectively, the “Assumed and Assigned
Agreements” and each, an “Assigned Agreement), pursuant to § 365 of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that, Debtor has indicated on Schedule 1 attached hereto
the cure amounts that Debtor believes must be paid to cure all pre-petition defaults and pay all amounts
accrued under the Assigned Agreements (in each instance, the “Cure Amount”).

       PLEASE TAKE FURTHER NOTICE that, any party seeking to object to the assumption by the
Debtor and assignment/transfer to the Winning Bidder of any Assigned Agreement, including the validity
and amount of the Cure Amount as determined by the Debtors, or otherwise assert that any other




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amounts, defaults, conditions or pecuniary losses must be cured or satisfied under any of the Assigned
Agreement for such contract or lease to be assumed and assigned, must file an objection
(“Cure/Assignment Objection”) that (a) is in writing (b) sets forth the specific monetary amount the
objector asserts to be due, and the specific types of the alleged defaults, pecuniary losses, accrued
amounts and conditions to assignment and the support therefor, (c) is filed with the Clerk of the
Bankruptcy Court, and served on the Debtor’s counsel so that it is received, on or before February 24,
2021 at 5:00 p.m. prevailing Eastern Time (“Cure/Assignment Objection Deadline”). Any such
unresolved objections will be heard at the Sale Hearing.

       PLEASE TAKE FURTHER NOTICE that all Qualified Bidders shall provide evidence
demonstrating their ability to provide adequate assurance of future performance under any Assumed and
Assigned Agreement to all parties listed on Schedule 1 by no later than February 24, 2021 at 5:00 p.m.
(Eastern).

        PLEASE TAKE FURTHER NOTICE that, any party seeking to object to the ability of a Qualified
Bidder to provide adequate assurance of future performance of an Assigned Agreement must file an
objection (“Adequate Assurance Objection”) with the Clerk of Bankruptcy Court on or before February 24,
2021 at 5:00 p.m. prevailing Eastern Time (“Adequate Assurance Objection Deadline” and collectively
with the Cure/Assignment Objection Deadline, the “Cure/Adequate Assurance Objection Deadlines”). Any
such unresolved objections will be heard at the Sale Hearing.


         PLEASE TAKE FURTHER NOTICE that, unless a Cure/Assignment Objection or Adequate
Assurance Objection is filed and served before the Cure/Adequate Assurance Objections Deadlines, all
parties shall (a) be forever barred from objecting to the Cure Amount or provision of adequate assurance
of future performance and from asserting any additional cure or other amounts with respect to the
Assigned Agreements, and the Debtor and the Winning Bidder shall be entitled to rely solely upon the
Cure Amount; (b) be deemed to have consented to the assumption and assignment; (c) be forever barred
and estopped from asserting or claiming defaults exist, that conditions to assignment must be satisfied
under such Assigned Agreements or that there is any objection or defense to the assumption and
assignment of such Assigned Agreements.

        PLEASE TAKE FURTHER NOTICE that, if you agree with the Cure Amount indicated on
Schedule 1 and otherwise do not object to the Debtor’s assumption and assignment of your lease or
contract, you need not take any further action.

      PLEASE TAKE FURTHER NOTICE that, Debtor’s decision to assume and assign the Assigned
Agreements is subject to the approval of the Bankruptcy Court.

        PLEASE TAKE FURTHER NOTICE that, the inclusion of any document on the list of Assigned
Agreements shall not constitute or be deemed to be a determination or admission by the Debtor or the
Winning Bidder that such document is, in fact, an executory contract or unexpired lease within the
meaning of the Bankruptcy Code, or that your executory contract or unexpired lease will be assumed
and/or assigned, and all rights with respect thereto are expressly preserved.




                                                Respectfully Submitted,




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                                         WINEGARDEN, HALEY, LINDHOLM,
                                         TUCKER & HIMELHOCH, P.L.C.
                                         Attorneys for the Debtor


Dated: February 17, 2021            By: _ /s/ Zachary R. Tucker
                                          Zachary R. Tucker (P-75263)
                                          9460 S. Saginaw Rd., Suite A
                                          Grand Blanc, MI 48439
                                          (810) 579-3600
                                          ztucker@winegarden-law.com




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                                     EXHIBIT 5




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                                ASSET PURCHASE AGREEMENT

        This Asset Purchase Agreement (the “Agreement”) dated as of February 18, 2021, is by

and between Lapeer Industries, Inc. (“Debtor”) and Schreiber Holdings, LLC (“Holdings” and

together with Debtor, the “Seller”) and Business Company, LLC (the “Purchaser”).

                                             RECITALS

        1.       Debtor is the debtor in possession (the “Debtor”) in a chapter 11 proceeding

under the United States Bankruptcy Code, 11 USC §§ 101 et seq. (the “Bankruptcy Code”),

pending as case no. 20-48744-mlo (the “Bankruptcy Case”) in the United States Bankruptcy

Court for the Eastern District of Michigan, Southern Division at Detroit (the “Bankruptcy

Court”) commenced on August 5, 2020 (the “Petition Date”).

        2.       Upon the terms and subject to the conditions set forth herein and as authorized

under section 363 of the Bankruptcy Code, Purchaser desires to purchase from the Seller and

Seller has agreed to sell to the Purchaser, all of the Debtor’s right, title and interest in the Assets

as that term is defined below, for $1,250,000.00 (the “Purchase Price”) to be paid to Debtor (and

not Holdings), payable as provided herein. Holdings will not receive any of the Purchase Price.

        3.       The closing of the contemplated Purchase, and Purchaser’s and Seller’s

obligations under this Agreement, are contingent on the Bankruptcy Court’s approval of the sale,

and the parties acknowledge that no sale shall occur until the Bankruptcy Court enters its order

approving such sale.

        NOW, THEREFORE, in consideration of the above recitals and the mutual

representations, covenants, warranties and agreements set forth in this Agreement, Purchaser and

Seller hereby agree:




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                                              ARTICLE I

                               PURCHASE AND SALE OF ASSETS

        1.1     Agreement to Sell and Purchase Transferred Assets. Subject to the terms and

conditions of this Agreement, Seller agrees to sell, assign, convey and transfer to Purchaser and

Purchaser agrees to purchase from Seller, all of the Seller’s right title and interest in the Assets

described below, free and clear of all liens, claims, encumbrances and other interests pursuant to

Section 363 of the Bankruptcy Code.

                                            THE ASSETS

        1.2     Assets to Be Purchased. The assets to be purchased consist of substantially all of

Debtor’s assets used in its businesses as more particularly described herein (“Assets”), including,

but not limited to, Debtor’s right to, title to and interest in the following:

                a.      All tangible personal property, leasehold improvements, installations,

                        fixtures, trade fixtures, machinery, tooling and equipment including all

                        items identified on Exhibit A (except item #163 of Exhibit A which is

                        modified below), fittings, furniture, furnishings, inventory, materials

                        including steel, aluminum, stainless, scrap, WIP, cars, trucks, trailers or

                        rolling stock, office equipment and supplies wall to wall and floor to

                        ceiling (collectively, “Tangible Property”) located and used at each of

                        Debtor’s locations at 3140 John Conley Dr, Lapeer, MI 48446 and 400

                        McCormick Drive, Lapeer MI 48446. Exhibit A #163 shall be redefined as

                        follows: all trailers, containers, and vessels (including contents) located at

                        the above referenced locations excluding customer owned assets;




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           b.     All right, title and interest of the Debtor and its bankruptcy estate in the

                  real property lease (the “Real Property Lease”) related to Debtor’s location

                  commonly known as 3140 John Conley Drive, Lapeer, MI 48446;

           c.     All computers, computer equipment, computer hardware/software, servers,

                  fiber optic lines, copiers, security systems, machines, keys, codes and all

                  other equipment owned by Debtor;

           d.     All telephone numbers registered to the Debtor; e-mail addresses, domain

                  names, fax numbers, websites, provided, however, that the Buyer

                  acknowledges that the Debtor will utilize the telephone numbers in the

                  ordinary course of business prior to the closing date;

           e.     All of Seller’s intellectual property and all rights to any intellectual

                  property of any other person licensed to the Debtor pursuant to any

                  contract including names, domain names, trademarks, registrations,

                  websites, assumed names, logos masks, copyrights, and patents;

           f.     All contracts and all rights of the Debtor to accounts receivable, in an

                  amount of no less than $51,000, related to or arising from debts or

                  obligations owed by the Israeli Ministry of Defense (IMOD);

           g.     All express or implied guarantees, warranties, representations, covenants,

                  indemnifications, rights, claims, counterclaims, defenses, credits, causes

                  of action or rights of set off against third parties relating to the Assets

                  (including for the avoidance of doubt, those arising under, or otherwise

                  relating to, the contracts to be purchased but expressly excluding all

                  Avoidance Actions and Causes of Action (as defined in the “Bidding




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                  Procedures” document and this Agreement)) or liabilities, including

                  without limitation, rights under vendors’ and manufacturers’ warranties,

                  indemnities, and guarantees except those which are expressly identified in

                  the Excluded Assets section below;

           h.     To the extent transferrable under applicable law or with the consent of any

                  third party, if necessary, which consent has been obtained, all licenses,

                  permits, certifications and approvals from all permitting, licensing,

                  accrediting and certifying agencies, all pending applications for any of the

                  foregoing, and the rights to all data and records held by such permitting,

                  licensing and certifying agencies;

           i.     All documents consisting of purchasing and sales records, accounting

                  records, business plans, budgets, costs and pricing information, customer

                  and vendor lists, client records wherever located related to the business,

                  other than those documents that are Excluded Assets as identified in the

                  “Bidding Procedure” Document;

           j.     Debtor’s current employees are leased from a third party; however,

                  retention of employees is possible. Accordingly, all personnel files for

                  employees the purchaser intends to retain will also be included, except as

                  required under law; provided, however, that the Debtor has the right to

                  retain copies at its expense to the extent required by law;

           k.     All prepaid expenses relating to the Assets;

           l.     Any rights, claims or causes of action of the Debtor, except for those

                  identified as related to, or arising under, the Excluded Assets section of the




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                      “Bidding Procedures” Document and this Agreement, including without

                      limitation, the Avoidance Actions and Causes of Action;

              m.      All customer contracts for services for which performance is due or to

                      become due by the Debtor at any location of the Debtor’s that is operating

                      as of the date of closing;

              n.      Any claim, right or interest of Debtor in or to any refund or rebate relating

                      to the Assets;

              o.      All insurance claims or proceeds arising out of or related to the damage,

                      destruction or loss of any Assets to the extent any damage, destruction or

                      loss remains unrepaired or not replaced at the Closing;

              p.      All tax refunds; and

              q.      Insurance policies with Debtor as named insured and all insurance

                      proceeds and insurance claims of Debtor or to which Debtor is entitled,

                      including Debtor’s directors’ and officers’ liability insurance policy.

       1.3    Excluded Assets. The Purchase does not include any of the following

(collectively, the “Excluded Assets”) as listed in the “Bidding Procedures” Document.

              a.      Any and all rights under all contracts that are not assumed by the

                      Purchaser;

              b.      Any avoidance actions, including without limitation, voidable transaction

                      actions, fraudulent transfer actions and preference actions, and claims and

                      proceeds of such avoidance actions and all claims and causes of action

                      under Chapter 5 of the Bankruptcy Code and non-Bankruptcy law and the

                      proceeds of such actions (collectively, the “Avoidance Actions”);




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           c.     Claims against officers, directors, managers, members, of the Debtor and

                  any claims against any insider (as defined in the Bankruptcy Code) of the

                  Debtor and any claims against Marvin Engineering Co., Inc. and any of its

                  affiliates, owners, trusts, subsidiaries or related entities or related

                  individuals, including without limitation, the Marvin Group and the

                  Gerald M. Friedman Trust dated 4/24/08.

           d.     Any (i) confidential personnel and medical records pertaining to any

                  employee who is not hired by the buyer; (ii) books and records that Debtor

                  is required by law to retain, provided that the buyer shall have the right to

                  make copies of any portions of such retained books and records that relate

                  to the business or any of the Assets; and (iii) minute books, stock and

                  membership ledgers and stock and membership certificates of the Debtor;

           e.     All rights under or pursuant to all warranties (express or implied),

                  representations and guarantees made by third parties relating to any

                  Excluded Assets;

           f.     All claims that Debtor may have against any person or entity solely with

                  respect to any Excluded Assets or which solely constitute a defense

                  against any of the Excluded Liabilities;

           g.     All Employees Plans / Agreements and assets related thereto, including

                  the Debtor’s rights, title and interests in any (i) assets related to a defined

                  benefit or contribution retirement plan, and (ii) assets related to non-

                  qualified deferred compensation plan;

           h.     All accounts receivable other than accounts receivable from IMOD. The




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                       accounts receivable from IMOD are no less than $51,000;

               i.      All membership interests of the Debtor and all equity securities owned or

                       held by any members of Debtor;

               j.      Debtor’s cash and cash equivalents, which includes but is not limited to

                       amounts related to Debtor’s customer TAG which may be held in escrow

                       and the $100,000 deposit held by the Debtor’s counsel from Daniel

                       Schreiber;

               k.      For the avoidance of doubt, all real property and personal property which

                       was previously used or being used by the Debtor but not owned by the

                       Debtor is expressly designated as an “Excluded Asset”; and

               l.      For the avoidance of doubt, any interest, including but not limited to any

                       leasehold interest which relates to any real property other than 3140 John

                       Conley Drive, Lapeer, MI 48446 is an “Excluded Asset”, as Debtor asserts

                       it has no interest in any real estate other than the lease with respect to 3140

                       John Conley Drive, Lapeer, MI 48446.

       1.4     Excluded Liabilities. Except as expressly provided herein, Purchaser is not

assuming any liability or obligation of the Debtor and/or Seller of whatever nature. All such

liabilities and obligations, including but not limited to administrative claims arising from the

Bankruptcy Case shall be retained by and remain liabilities and obligations of the Debtor’s Estate

and/or the Seller.

       1.5     Sale Free and Clear of All Liens, Claims, Encumbrances and Other Interests.

The Assets shall be transferred to the Purchaser, free and clear of all liens, claims,

encumbrances, and other interests of record with all such liens, claims, encumbrances and other




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interests of record attaching to the proceeds of the sale.

       1.6     Method of Conveyance. Upon Closing, title to the Assets shall pass to Purchaser

and Seller shall deliver to Purchaser any assignments, bills of sale or similar documents

sufficient to convey to Purchaser title to all the Assets, as well as such other instruments of

conveyance as Purchaser may reasonably deem necessary (both at and after the Closing) to effect

or evidence the transfers contemplated herein.

                                            ARTICLE II

       2.1     Stalking Horse Designation and Protections. Seller hereby designates Purchaser as

the stalking horse purchaser (the “Stalking Horse”) with respect to the Assets. Seller hereby

grants Purchaser the following Stalking Horse protections: Seller shall pay to Purchaser cash in

an amount equal to $50,000.00 (Fifty-Thousand Dollars) plus the amount of actual fees and

expenses not to exceed $30,000.00 (Thirty-Thousand Dollars) (collectively, the “Expense

Reimbursement Fee”) only in the event that Seller, in consultation with the Creditors’

Committee, consummates a sale or transfer of all or any material portion of the Assets to one or

more third parties whose bid(s) was or were selected by the Seller as higher and better through

the sale process and approved by the Court. The auction procedures order shall provide for

overbid protection of $80,000.00 (Eighty Thousand Dollars) which shall commence the auction

at $1,350,000.00 (One Million Three Hundred Thirty Thousand Dollars).

       2.2     In the event the Expense Reimbursement Fee is payable pursuant to the preceding

section, (1) the Expense Reimbursement Fee shall be paid out of the cash sale proceeds received

from a sale of Assets to such third party, and (2) no lien of any third party shall attach to the

portion of the sale proceeds representing the Expense Reimbursement Fee. If the Expense

Reimbursement Fee becomes due and payable, it shall be paid to Buyer at the Closing of the




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higher and better transaction(s), and shall be treated as an allowed administrative expense if

Seller is placed into a Chapter 7 liquidation. The obligation to pay the Expense Reimbursement

Fee shall be senior to all liens, security interests and claims in the Assets. The provisions of this

section shall survive any termination of this Agreement. If the Expense Reimbursement Fee

becomes due and payable, the Expense Reimbursement Fee shall constitute Purchaser’s

liquidated damages and shall be Purchaser’s sole and exclusive remedy.

       2.3     Purchase Price ‒ Payment. The Purchase Price shall be paid as follows:

               2.3.1   A deposit in the amount of $100,000.00 shall be tendered to and held by

Winegarden, Haley, Lindholm, Tucker & Himelhoch, PLC.

               2.3.2   The sum of $1,150,000.00 will be paid by Purchaser at Closing to the

Debtor. No money will be paid to Holdings. All cure costs must be paid by Purchaser, however,

Business Company, LLC has no intention of assuming any leases or executory contracts that

require cure costs to be paid. Seller has no responsibility for payment of any cure costs.

       2.4     Retention of Refund or Deposit.

               2.4.1   If this Agreement is terminated by the Seller as a result of the willful

failure by Purchaser to close the transactions contemplated by this Agreement or to otherwise

perform any of its obligations under this Agreement, the Seller shall be entitled to retain the

Deposit.

               2.4.2   If this Agreement is terminated by Purchaser under section 9.1 (B) or any

other party for any other reason or if for any reason the Closing does not occur on or before the

Closing Deadline, not later than two (2) business days following such termination date or

Closing Deadline, as applicable, Seller shall refund to Purchaser the Deposit by wire transfer of

immediately available funds to an account or accounts specified by Purchaser.




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                                            ARTICLE III
                                             CLOSING

       3.1     Closing. The sale shall be effected by a closing of the sale and purchase of the

assets (the “Closing”) within 2 business days of the Bankruptcy Court’s Order approving the sale

becoming a final order under the Bankruptcy Code.

       3.2     Seller’s Deliveries. At Closing, Seller will deliver to Purchaser possession of the

Assets and all other agreement or documents required to be delivered to Purchaser pursuant to

the terms of this Agreement.

                                  ARTICLE IV
                   REPRESENTATIONS AND WARRANTIES OF SELLER

       4.1     Enforceability. Subject to the entry of the Sale Order, this Agreement constitutes

Seller’s valid and legally binding obligation, enforceable in accordance with its terms.

       4.2     Title and Authority to Sell. Debtor warrants and agrees that it serves as debtor in

possession in the Bankruptcy Case and that it has full authority of the Bankruptcy Court to sell

the assets of the Debtor in accordance with the terms of this Agreement, and subject to

Bankruptcy Court approval, free and clear of all liens, claims, encumbrances to the fullest extent

permitted by Section 363 of the Bankruptcy Code, “as is, and where is” without representation or

warranty other than any set forth in this Agreement.

                                 ARTICLE V
                REPRESENTATIONS AND WARRANTIES OF PURCHASER

       Purchaser hereby represents and warrants to Seller that all the following statements are

true, accurate and correct as of the date of execution of this Agreement and shall be true and

correct as of the Closing Date:

       5.1     Organization. Purchaser will be a duly organized limited liability company,

validly existing, and in good standing under the laws of the State of Michigan and will have the




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requisite power and authority to enter into this Agreement and any other documents that

Purchaser is required to execute and deliver hereunder to perform its obligations under this

Agreement. Its registration with the State of Michigan Department of Licensing and Regulatory

Affairs is pending as of the date of this Agreement.

        5.2      Authorization. The execution, delivery and performance of this Agreement and

all other documents related thereto, either executed or to be executed pursuant to the Agreement

by Purchaser, and the consummation of the transactions herein, have been duly authorized by all

necessary actions on the part of the Purchaser.

        5.3      Enforceability. This Agreement constitutes the valid and legally binding

obligation of the Purchaser, enforceable in accordance with its terms, except as such

enforceability may be limited by equitable principles and applicable bankruptcy or similar laws

relating to or affecting the rights of creditors.

                                          ARTICLE VI
                                      COVENANTS OF SELLER

        Seller covenants as follows:

        6.1      Conduct Outside the Ordinary Course of Business. Without written consent of

the Purchaser, from the date of this Agreement through the Closing, Seller will not with respect

to the Assets:

                 1.       Sell, lease, transfer or encumber or assign any of the Assets.

                 2.       Engage in any practice, take any action, or enter into any transaction with

 respect to the Assets.

        6.2      Preservation of “going concern” value. Seller will continue operations as they

existed on January 11, 2021 so as to preserve the “going concern” value, if any, of the Assets.

        6.3      Obtaining Sale Order of the Bankruptcy Court. Subject to sections 2.1 and




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2.2, Seller shall take all steps reasonably necessary or appropriate to obtain the entry by the

Bankruptcy Court of the Sale Order in a form acceptable to Purchaser in its reasonable discretion

and as described below. Purchaser acknowledges and agrees that the Seller intends to conduct an

auction sale of the Assets, subject to higher and better bids for same and thus this Agreement is

contingent upon the Purchaser submitting the highest and best bid for the Assets.

                                     ARTICLE VII
                               COVENANTS OF BOTH PARTIES

       7.1     Costs and Expenses. Except for the protections contained in sections 2.1 and 2.2,

Purchaser and Seller shall each bear their own costs and expenses in connection with the

negotiation, purchase and approval of the purchase of the Assets and any transaction related

thereto.

                                       ARTICLE VIII
                                  CONDITIONS TO CLOSING

       8.1     Conditions to Purchaser’s Obligations. Purchaser’s obligations to purchase the

Assets under this Agreement is subject to the satisfaction of each of the following conditions

precedent:

               A.      Compliance with Covenants. Seller shall have complied with the

covenants contained in this Agreement, and shall otherwise not be in default under this

Agreement.

               B.      Asset and Customer Verification. Purchaser shall have until 5:00PM on

February 16, 2021 to conduct due diligence on the Assets and customers of the Seller. Purchaser

may terminate this Agreement in its sole discretion prior to 5:00PM on February 16, 2021.

               C.      Instruments of Transfer. Purchaser or its nominee, shall have received

deeds, bills of sale and such other duly executed instruments of transfer, conveyance, and




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assignments to Purchaser of the Assets as contemplated by this Agreement.

                D.      Bankruptcy Court’s Approval of Sale. Seller shall have obtained a final

order from the Bankruptcy Court in a form and content satisfactory to Purchaser in its reasonable

discretion approving the transactions contemplated herein (the “Sale Order”). Among other

things, the Sale Order shall (a) approve the sale of the Assets to Purchaser on the terms and

conditions set forth in this Agreement and authorize the Seller to proceed with this transaction,

(b) include a specific finding that Purchaser is a good faith purchaser of the Assets, (c) state that

the sale of the Assets to Purchaser shall be free and clear of all liens, claims, interests, security

interest, encumbrances of any nature whatsoever to the fullest extent permitted by Section 363 of

the Bankruptcy Code, (d) provide waiver of stays contemplated by Rule 6004(g) and (e) include

specific findings that the Debtor has title to the Assets and that (f) Debtor has full and complete

authority of the Bankruptcy Court to sell the Assets.

        8.2     Conditions to Seller’s Obligations. Seller’s obligation to sell the Assets and

otherwise consummate the transactions contemplated under this Agreement at Closing is subject

to the satisfaction of each of the following conditions precedent, except as Seller may expressly

waive the same in writing and in its sole discretion:

                A.      Accuracy of Representations and Warranties on Closing Date. The

representations and warranties made herein by the Purchaser in this Agreement shall be true and

correct in all material respects, and not misleading in any material respect, on and as of the date

given, and on and as of the Closing Date with the same force and effect as though such

representations and warranties were made on and as of the Closing Date.

                B.      Deliveries. Purchaser shall have delivered to Seller at Closing any

executed documents required under this Agreement and the Purchase Price.




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               C.      Bankruptcy Court Approval. The Bankruptcy Court shall have entered

the Sale Order and the implementation, operation, or effect of the Sale Order shall have not been

stayed and the Sale Order having become a final order.

                                           ARTICLE IX
                                          TERMINATION

       9.1     Right to Terminate Agreement. This Agreement may be terminated and the

transactions contemplated herein may be abandoned at any time before closing:

               A.      By mutual written agreement of the Purchaser and Seller;

               B.      By Purchaser, under section 8.1 (B), or if any material condition to closing

has not been satisfied or if Seller fails to comply or perform a material covenant of this

Agreement and Seller is unable, in a reasonable time, to satisfy such condition or covenant;

       9.2     Effect of Termination. Upon the termination of this Agreement in accordance

with this Section, all rights and obligations of Purchaser and Seller will terminate without any

liability of one party to the other party with the exception of Seller’s obligation to return the

deposit as provided in section 2.4.2.

                                           ARTICLE X
                                        MISCELLANEOUS

       10.1    Notices. All notices, requests, demands, waivers and other communication

required or permitted to be given under this Agreement shall be in writing and will deemed to be

duly given if: (a) delivered personally; (b) mailed by first class or certified mail, return receipt

requested, postage prepaid; (c) sent by a national next day or overnight mail or courier service;

(d) sent by confirmed facsimile transmission; or (e) sent by confirmed electronic mail. All such

notices, requests, demands, waivers and other communication will be deemed to have been

received: (i) if by personal delivery, upon delivery; (ii) if by certified or registered mail, on the




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third business day after mailing thereof; (iii) if by next day or overnight courier, on the business

day after such mailing; or (iv) if by confirmed facsimile or email, upon receipt.

       To the Purchaser:       Business Company, LLC



       With a copy to:         Keller & Almassian, PLC
                               c/o Todd Almassian
                               230 Fulton Street E.
                               Grand Rapids, MI 49503

       To the Seller:          Lapeer Industries, Inc.
                               Attention: Mr. Daniel Schreiber
                               3140 John Conley Drive
                               Lapeer, MI 48446.

       With a copy to:         Zachary Tucker, Esq.
                               Winegarden, Haley, Lindholm, Tucker & Himelhoch, PLC
                               9460 Saginaw Road, Suite A
                               Grand Blanc, MI 48439

       10.2    Consent to Jurisdiction.

               A.       THE BANKRUPTCY COURT WILL HAVE JURISDICTION OVER

ALL MATTERS, INCLUDING ANY LEGAL ACTION, SUIT OR PROCEEDING ARISING

OUT OF OR RELATING TO THIS AGREEMENT, ANY RELATED AGREEMENT OR THE

TRANACTIONS CONTEMPLATED HEREBY OR THEREBY AND THE

INTERPRETATION, IMPLEMENATION OR ENFORCEMENT OF THIS AGREEMENT,

ANY RELATED AGREEMENT, OR THE INTERPRETATION, IMPLEMENATION OR

ENFORCEMENT OF ANY RELATED AGREEMENT AND THE PARTIES HERTO

IRREVOCABLY SUBMIT AND CONSENT TO SUCH JURISDICITON.

               B.       Purchaser and Seller consent to venue of any action, suit or proceeding

arising out of this Agreement in the Bankruptcy Court. If a court finds that subject matter

jurisdiction is not available in the Bankruptcy Court, Purchaser and Seller hereby agree to submit




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any and all disputes arising out of this Agreement to the jurisdiction and venue of the United

States District Court for the Eastern District of Michigan, Southern Division.

       IN WITNESS WHEREOF, the parties hereto have executed this Asset Purchase

Agreement as of the day and year first written above.




PURCHASER:

BUSINESS COMPANY, LLC


By:    David Nemes
Its:




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SELLER:

LAPEER INDUSTRIES, INC.



By:    Daniel Schreiber
Its:   President

And
SCHREIBER HOLDINGS, LLC

_______________________________________
By:   Daniel Schreiber
Its:  Member




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                                   EXHIBIT 6




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      Settlement Term Sheet to Be Attached to Bidding Procedures Order Stipulation



  •    Deal is subject to bankruptcy court approval and definitive settlement documents that are acceptable to all
       parties. The papers filed with, and the presentation to, the bankruptcy court must detail the assets remaining
       in the estate after the sale and the administrative expenses remaining after the sale. If Court approval of
       any aspect of the settlement is denied, the settlement will not proceed. The right to object to the Sale, for
       any reason, is preserved. Approval of the settlement agreement shall be contingent upon approval of the
       sale.

  •    $1,250,000 purchase price is broken down as follows:
            o $725,000 to Manufacturers Capital
            o $425,000 to Trion
            o $100,000 as a surcharge and carveout to professionals - $25K for each professional (Capstone,
                 Winegarden, Miller and Oxford) – to be held in escrow pending approval of fee applications.
  •    Schreiber agrees to forfeit his deposit - $90,000 to be paid to Trion at the closing of the Sale for a total
       payment of $515,000.00 with the $10,000 balance remaining in the Estate
  •    Waiver of all rights to credit bid, consistent with the terms of the prior Bidding Procedures Order.
  •    If the purchase price increases Trion receives 75% of the increase and the Estate receives 25%
  •    Trion and Manufacturers Capital release and waive all claims against the Debtor, excluding any resulting
       general unsecured non-priority deficiency claims after each receives proceeds from the sale (and, with
       respect to Trion, $90,000 from the deposit) in accordance with the above. The Debtor, the Committee (but
       not its individual members), Trion, and Manufacturers Capital will execute mutual releases related to the
       sale and the bankruptcy case. The Debtor and the Committee (but not its individual members) will release
       Daniel Schreiber and Daniel Schreiber will release the Debtor and Committee (but not its individual
       members) related to the sale and bankruptcy case. Manufacturers Capital will not release Daniel Schreiber.
       For the sake of clarity, (a) individual members on the Committee (and creditors in the bankruptcy case
       generally) are not releasing anyone or any entity or the bankruptcy estate nor are they giving or receiving a
       release from anyone or any entity or the bankruptcy estate in their individual capacities or in respect of
       their individual claims, (b) the Committee’s (but not its individual members) release of the Debtor and
       Daniel Schreiber above does not (i) include any other person or entity other than the Debtor and Daniel
       Schreiber or (ii) release or waive claims for professional fees or expenses
  •    All assets not part of the sale remain in estate and include, without limitation, the following:
            o $10,000 Schreiber deposit
            o $51K in receivables (BAE - $45K and Raytheon - $6K)
            o $91K in cash
            o Chapter 5s (unknown value)
  •    Administrative expenses (approximate numbers)
            o $40K to UST (to be paid from cash on hand upon closing of sale)
            o $400K+ in postpetition admins (to hopefully be satisfied in whole or in part from remaining assets
                 and chapter 5 recoveries or offsets)
            o $600K+ in professional fee claims (to hopefully be satisfied in whole or in part from remaining
                 assets and chapter 5 recoveries or offsets)
            o $345K+ postpetition loan from Schreiber to debtor is waived and released by Schreiber in
                 exchange for a release from the Debtor (above).
  •    Debtor and Committee agree that Debtor’s counsel would pursue preference claims as fiduciary to the
       estate
  •    Statement on the record by the Stalking Horse Purchaser that there is no connection whatsoever between
       the Stalking Horse Purchaser or any of its principals and Mr. Schreiber or any of Mr. Schreiber’s
       businesses.




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